19-01294-scc     Doc 50     Filed 10/24/19 Entered 10/24/19 15:22:09     Main Document
                                         Pg 1 of 12



Israel Dahan
KING & SPALDING LLP
1185 Avenue of the Americas
New York, NY 10036-2601
Tel: (212) 556-2100
Fax: (212) 556-2200
idahan@kslaw.com

Counsel for Defendant DB México Bank Mexico, S.A.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:
                                           BK Case No. 18-11094 (SCC)
PERFORADORA ORO NEGRO,                     (Jointly Administered) (Chapter 15)
S. DE R.L. DE C.V., et al.
                                           Adversary Case No. 19-01294 (SCC)
Debtors in a Foreign Proceeding.

GONZALO GIL-WHITE, PERSONALLY
AND IN HIS CAPACITY AS FOREIGN
REPRESENTATIVE OF PERFORADORA
ORO NEGRO, S. DE R.L. DE C.V. AND
INTEGRADORA DE SERVICIOS
PETROLEROS ORO NEGRO, S.A.P.I. DE
C.V.

                     Plaintiff,

              - against –

ALP ERCIL; ALTERNA CAPITAL
PARTNERS, LLC; AMA CAPITAL
PARTNERS, LLC; ANDRES
CONSTANTIN ANTONIUS-GONZÁLEZ;
ASIA RESEARCH AND CAPITAL
MANAGEMENT LTD.; CQS (UK) LLP;
FINTECH ADVISORY, INC.; DB MÉXICO
BANK MÉXICO, S.A.; INSTITUCIÓN DE
BANCA MÚLTIPLE; GARCÍA
GONZÁLEZ Y BARRADAS ABOGADOS,
S.C.; GHL INVESTMENTS (EUROPE)
LTD.; JOHN FREDRIKSEN; KRISTAN
BODDEN; MARITIME FINANCE
COMPANY LTD.; NOEL BLAIR HUNTER


                                            1
19-01294-scc      Doc 50     Filed 10/24/19 Entered 10/24/19 15:22:09             Main Document
                                          Pg 2 of 12



COCHRANE, JR; ORO NEGRO PRIMUS
PTE., LTD.; ORO NEGRO LAURUS PTE.,
LTD.; ORO NEGRO FORTIUS PTE., LTD.;
ORO NEGRO DECUS PTE., LTD.; ORO
NEGRO IMPETUS PTE., LTD.; PAUL
MATISON LEAND, JR.; ROGER ALAN
BARTLETT; ROGER ARNOLD
HANCOCK; SEADRILL LIMITED; SHIP
FINANCE INTERNATIONAL LTD.; and
DOES 1-100

                       Defendants.


  MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF’S MOTION FOR AN
           ORDER AUTHORIZING ALTERNATIVE SERVICE

       On October 10, 2019, Fernando Perez Correa Camarena, in his capacity as foreign

representative (“Foreign Representative” or “Plaintiff”) of both Integradora de Servicios

Petroleros Oro Negro, S.A.P.I. de C.V. (“Integradora”) and Perforadora Oro Negro, S. de R.L. de

C.V. (“Perforadora,” and together with Integradora, the “Debtors”), filed a Motion for an Order

Authorizing Alternative Service on Defendants Deutsche Bank México, S.A. and Andres Antonius

(the “Motion”) [Docket No. 43]. Plaintiff’s Motion, however, demonstrates a blatant effort to

avoid the requirements of the Convention on the Service Abroad of Judicial and Extrajudicial

Documents in Civil or Commercial Matters (the “Hague Convention”)—the applicable

procedure for serving lawsuits on defendants who reside in foreign countries. Indeed, Plaintiff

readily admits in his Motion that his only effort at serving Deutsche Bank México, S.A.,

Institución de Banca Multiple (“DB México” or “Defendant”)—a Mexican entity and resident—

was through emails allegedly sent to DB México employees in Mexico and undersigned counsel.

See Motion at ¶ 40. Because Plaintiff has not even attempted to follow the prescribed procedural

service requirements under the Hague Convention and has made no effort to demonstrate that it

is impracticable to do so, there is no reason to permit alternative means of service.


                                                 2
19-01294-scc      Doc 50     Filed 10/24/19 Entered 10/24/19 15:22:09          Main Document
                                          Pg 3 of 12



       Further, DB México’s participation in the Chapter 15 proceeding for the limited purpose

of providing discovery pursuant to the Court’s Rule 2004 discovery order did not waive DB

México’s entitlement to proper service under the Federal Rules of Civil Procedure and the Hague

Convention. Accordingly, Plaintiff’s Motion should be denied.

                                         ARGUMENTS

       A.      Plaintiff Fails to Justify Their Evasion of the Hague Convention

       In this action, Plaintiff—a Mexican citizen representing two Mexican companies—is

suing DB México—a Mexican company and resident—for purported violations of Mexican law.

As illustrated by the Motion, however, Plaintiff strangely refuses to comply with any aspect of

Mexican law, including Mexico’s declarations to the Hague Convention (to which the U.S. and

Mexico are signatories).

       Instead, Plaintiff wants to evade these legal requirements. He exclusively relies on

Federal Rule of Civil Procedure 4(f)(3), incorporated here through Bankruptcy Rule 7004, in his

request to the Court to permit alternative service on DB México, a Mexican corporation

headquartered in Mexico City with no United States presence. Rule 4(f)(3), however, allows

service on foreign corporations “by means not prohibited by international agreement, as the court

orders.” Fed. R. Civ. P. 4; Motion at ¶ 37.

       When an international treaty that governs service of process on foreign corporations is

available, Rule 4(f)(3) cannot provide an end-run to otherwise applicable methods of service.

Here, both Mexico and the United States are signatories to the Hague Convention, “and thus,

service of process on the Defendants in Mexico must conform to the requirements of the Hague

Convention.” Unite Nat’l Ret. Fund v. Ariela, Inc., 643 F. Supp. 2d 328, 333 (S.D.N.Y. 2008)

(emphasis added). Indeed, the United States Supreme Court is clear on this point: “compliance

with the Hague Convention is mandatory in all cases to which it applies.”           Id. (quoting

                                               3
19-01294-scc      Doc 50     Filed 10/24/19 Entered 10/24/19 15:22:09             Main Document
                                          Pg 4 of 12



Volkswagenwerk Aktiengesellschaft v. Schlunk, 486 U.S. 694, 705 (1988)). Thus, Plaintiff’s

suggestion that “there is no hierarchy among the subsections of Rule 4(f)” is not only taken out

of context, but it is also entirely misleading. See Motion at ¶ 38 (quoting Jian Zhang v.

Baidu.com Inc., 293 F.R.D. 508, 511 (S.D.N.Y. 2013) (permitting alternative service of process

on foreign litigant because “Rule 4(f)(3) [was] the only provision that remain[ed] open to

Plaintiffs, as their efforts to serve [defendant] pursuant to Rule 4(f)(1) failed because China

invoked its rights under Article 13 of the Convention and Rule 4(f)(2) is inapplicable.”)).

       In light of the mandate from the U.S. Supreme Court, one has to wonder why Plaintiff

does not want to follow the required Hague Convention procedure here. Among other things,

Plaintiff would need to “transmit[] copies of the Summons and Complaint, in English and

Spanish translations, and the other required documents to the Central Authority in Mexico” to

obtain a certificate of service that “establishes prima facie evidence that the Central Authority’s

service on Defendants was made in compliance with the convention.” Ariela, Inc., 643 F. Supp.

2d at 334. Does the Plaintiff not want to submit the Complaint to the Central Authority in

Mexico for its review? The answer appears to be yes.

       Instead, Plaintiff suggests that an email containing the Complaint to four DB México

employees is sufficient for service of process. In the United States, service of a complaint by

email is not permitted in the first instance. “[T]he term ‘service of process’ has a well-established

technical meaning. Service of process refers to a formal delivery of documents that is legally

sufficient to charge the defendant with notice of a pending action.” Volkswagenwerk

Aktiengesellschaft, 486 U.S. at 700 (emphasis added). “Simply put, a liberal construction of

Rule 4 cannot be utilized as a substitute for the plain legal requirements as to the manner in




                                                 4
19-01294-scc      Doc 50     Filed 10/24/19 Entered 10/24/19 15:22:09            Main Document
                                          Pg 5 of 12



which service of process may be had.” In re The Richmond Grp., Inc., No. 2-16-20258-PRW,

2017 WL 4221099, at *3 (Bankr. W.D.N.Y. Sept. 21, 2017).

       But even if Mexico permits service by email, see Motion at ¶ 45, such service must still

comport with other requirements of the Hague Convention outlined above. Here, Plaintiff

allegedly emailed a copy of the Complaint directly to four DB México employees, which

Complaint was not translated to Spanish—Defendant’s and its employees’ native language.

Mexico’s declaration to Article 5 of the Hague Convention requires translation of all documents

to        Spanish.         See          HCCH,           Declarations,         available         at:

https://www.hcch.net/en/instruments/conventions/status-

table/notifications/?csid=412&disp=resdn (“In relation to Article 5, where the judicial or

extrajudicial documents written in a language other than Spanish are to be served in Mexican

territory, they must be accompanied by the corresponding Spanish translation.”).             Thus,

Plaintiff’s alleged, attempted service is insufficient and cannot provide DB México with

sufficient notice of the claims asserted against it in this complicated and fact-intensive

proceeding. See Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950)

(finding that constitutional notions of due process require that service be “reasonably calculated,

under all circumstances, to apprise interested parties of the pendency of the action and afford

them an opportunity to present their objections.”).

       Even if alternative service is available, “courts in this Circuit generally impose two

additional threshold requirements before authorizing service under Rule 4(f)(3) . . . the plaintiff

has reasonably attempted to effectuate service on the defendant and . . . that the circumstances

are such that court intervention is necessary.” Devi v. Rajapaska, 2012 WL 309605, at *1

(S.D.N.Y. Jan. 31, 2012) (denying request for alternative service primarily because the plaintiff



                                                 5
19-01294-scc      Doc 50     Filed 10/24/19 Entered 10/24/19 15:22:09            Main Document
                                          Pg 6 of 12



had not attempted to serve defendant through the Hague Convention). These requirements,

“although not expressly provided by FRCP 4(f)(3), [are] necessary in order to prevent parties

from whimsically seeking alternate means of service and thereby increasing the workload of the

courts.” Ryan v. Brunswick Corp., No. 02-CV-0133E(F), 2002 WL 1628933, at *2 (W.D.N.Y.

May 31, 2002) (permitting alternative service on citizen of Taiwan, which is not a party to the

Hague Convention or other international agreement).

       Plaintiff fails to meet the first requirement for alternative service because he has not even

attempted to effectuate service in accordance with the law governing service of process in

Mexico, the Hague Convention, nor has he provided any reason for not doing so. Madu, Edozie

& Madu, P.C. v. SocketWorks Ltd. Nigeria, 265 F.R.D. 106, 116 (S.D.N.Y. 2010) (“Plaintiffs

have not met their threshold requirement of reasonably attempting to effect service on defendants

. . .”). Rather, Plaintiff relies on the assertion that DB México has notice of the proceeding, and

according to Plaintiff, that absolves him of any of Mexico’s service requirements because DB

México’s employees allegedly received an email with a copy of the Complaint and because

Plaintiff sent an additional email to King & Spalding LLP (“K&S”), asking whether DB México

would accept service of the Complaint through counsel.

       As discussed above, purported email service to DB México employees is not permitted

without Court approval and certainly not before Plaintiff attempts to comply with the Hague

Convention. Further, an email to K&S, who repeatedly advised Plaintiff that it is not authorized

to accept service for DB México, is similarly inappropriate. “[A] party seeking leave to serve an

individual by counsel must show adequate communication between the individual and the

attorney,” which must be demonstrated by counsel appearing on behalf of the defendant in the




                                                6
19-01294-scc        Doc 50     Filed 10/24/19 Entered 10/24/19 15:22:09      Main Document
                                            Pg 7 of 12



case or that counsel had knowledge of the underlying facts. AMTO, LLC v. Bedford Asset Mgmt.,

LLC, No. 14-CV-9913, 2015 WL 3457452, at *5-*6 (S.D.N.Y. June 1, 2015) (citations omitted).

        Plaintiff has done neither. K&S has not appeared on behalf of DB México in this

adversary proceeding to date.        Notably, Plaintiff has never provided K&S with a copy of

Complaint—redacted or unredacted—or the Motion. Nor does K&S have knowledge of many of

the relevant underlying facts. Rather, Plaintiff relies on the fact that K&S made an appearance

on behalf of Deutsche Bank Americas Holding, Corp. (“DB Americas”) and provided a limited

discovery response in the separate Chapter 15 proceeding, which was limited to producing

documents, to show that “K&S is indisputably aware of the pendency of these proceedings.”

Motion at ¶¶ 9, 42.

        Plaintiff sought discovery in the separate Chapter 15 proceeding from both DB Americas

and DB México, but now names only DB México in the adversary proceeding. Nonetheless, and

as described in more detail below, K&S’s representation nearly a year ago was limited to

advising DB Mexico as a nonparty in connection with the production of documents—the

proceeding did not involve DB México’s defense to any claims, including those alleged here.

And importantly, in its limited involvement in that proceeding, DB México vehemently reserved

its rights to contest jurisdiction or service in the future. 1




1 In his email correspondence with Plaintiffs’ attorneys, Mr. Dahan was very clear that K&S is
not authorized by DB México to accept service on its behalf. See Exhibit 6 to Declaration of
Daniel Pulecio-Boek [Docket No. 43-8]. Moreover, K&S is not a provider of translation
services. Plaintiff must follow the proper legal protocol for its Complaint to be properly
communicated to DB México.

                                                     7
19-01294-scc      Doc 50     Filed 10/24/19 Entered 10/24/19 15:22:09        Main Document
                                          Pg 8 of 12



       B.      DB México’s Participation in the Chapter 15 Discovery Proceeding Did Not
               Waive Its Right to Receive Proper Service of Process in this Adversary
               Proceeding

       Plaintiff implies that because DB México participated in the Chapter 15 bankruptcy

proceeding In re Perforadora Oro Negro, S. de R.L. de C.V., et al., No. 18-11094 (Bankr.

S.D.N.Y.) (SCC) (Jointly Administered) (the “Chapter 15 Case”), DB México is subject to

service via email in this adversary proceeding. Plaintiff, however, misconstrues DB México’s

limited participation in the Chapter 15 Case.

       Alonso Del Val-Echeverria, as Foreign Representative for the Debtors, 2 filed his

Expedited Motion of Foreign Representative for (I) Provisional Relief Pursuant to Bankruptcy

Code Sections 1519(a) and 362(a) and Additional Relief Pursuant to Bankruptcy Code Section

1519(a) and 362(a) and Additional Relief Pursuant to Bankruptcy Code Section 1521; and (II)

Leave to Conduct Discovery Pursuant to Bankruptcy Code Sections 105(a), 1521(a)(4) and

Federal Rule of Bankruptcy Procedure 2004 (the “Discovery Motion”). See Chapter 15 Case at

Docket No. 16. The Discovery Motion sought discovery from both DB México and DB

Americas. Neither party, however, responded or otherwise participated in the proceedings apart

from attending hearings related to the Discovery Motion.

       In response to the Discovery Motion, the Court in the Chapter 15 Case entered its Order

Granting in Part and Denying in Part the (I) Foreign Representative’s Request for Discretionary

Relief Pursuant to 11 U.S.C. § 1521(a) and (II) Motion by the Interested Parties Pursuant to

Section 1522(b) of the Bankruptcy Code for an Order Imposing Appropriate Conditions on

Operation of the Debtors’ Business, or Alternatively, Granting Adequate Protection (the


2 The documents ultimately produced in the Chapter 15 proceeding by DB México were
produced to the prior Foreign Representative, Alonso Del Val-Echeverria, not the current
Foreign Representative, Fernando Perez Correa Camarena, who is the Plaintiff in this adversary
proceeding.

                                                8
19-01294-scc       Doc 50     Filed 10/24/19 Entered 10/24/19 15:22:09            Main Document
                                           Pg 9 of 12



“Discovery Order”). See Chapter 15 Case at Docket No. 85. The Discovery Order provided for

limited document discovery from DB México and DB Americas.                 Nevertheless, the Court

specifically provided that the Discovery Order was entered “subject to the preservation of all

rights, objections, and defenses, including whether this Court has jurisdiction over a Discovery

Target.” See Discovery Order at 4. Indeed, the Court repeated this pronouncement twice. See id.

at 6 (“For avoidance of doubt, any and all objections and defenses to any Discovery Request,

including with respect to jurisdiction, are preserved . . .”).

        Compelled by the Discovery Order, see Discovery Order at 5 (“ORDERED, that, subject

to the preservation of all rights, objections, and defenses, each Discovery Target shall provide

written responses within twenty-one (21) days of the date on which the Discovery Requests are

served . . .”), DB México served the Foreign Representative on August 1, 2018 with its responses

and objections to Plaintiff’s Notice of Subpoena Pursuant to Rule 2004 and Bankruptcy Code

Section 1521. In accordance with the Discovery Order, DB México specifically stated:

        Deutsche México makes these R&Os to preserve its rights and protect its
        interests. Deutsche México’s cooperation and R&Os to the Requests are not
        intended to be, and shall not be construed as: (i) an admission or concession as to
        the jurisdiction of the United States Bankruptcy Court for the Southern District of
        New York (the “Bankruptcy Court”) or any other court in the United States or a
        waiver to contest the jurisdiction of the Bankruptcy Court; (ii) a waiver of the
        right to trial by jury, notwithstanding the designation or not of any matter as a
        “core proceeding” pursuant to 28 U.S.C. § 157(b)(2), and whether such jury trial
        right is pursuant to statute or the United States Constitution; (iii) a waiver of any
        contractual right to arbitration; (iv) a release of Deutsche México’s right to have
        any and all final orders in any and all non-core matters or proceedings entered
        only after a de novo review by a court other than the Bankruptcy Court, including
        a United States District Court judge; (v) a waiver of the right to withdraw the
        reference with respect to the subject matter of the Requests; or (vi) a waiver or
        limitation of any rights or remedies of Deutsche México.

        It is, however, Deutsche México’s intention to cooperate in the prompt delivery of
        documents responsive to the Requests that are reasonably related to the Order
        Granting in Part and Denying in Part the (I) Foreign Representative’s Request
        for Discretionary Relief Pursuant to 11 US.C. § 1521(a) and (II) Motion By the


                                                   9
19-01294-scc      Doc 50    Filed 10/24/19 Entered 10/24/19 15:22:09           Main Document
                                        Pg 10 of 12



       Interested Parties Pursuant to Section 1522(b) of the Bankruptcy Code for an
       Order Imposing Appropriate Conditions on Operation of the Debtors’ Business or
       Alternatively, Granting Adequate Protection [Doc. No. 85], to the extent not
       protected by applicable privilege, confidentiality, data privacy or bank secrecy
       constraints and to the extent proportional to the needs of the Bankruptcy Case,
       considering the reasonableness of and the expense and burden associated with the
       Requests.
                                              ...

       Any and all responses and documents provided by Deutsche México pursuant to
       these Requests are for the purposes of the above-captioned case only. They are
       not responses for any other purpose, nor may they be used against Deutsche
       México in any other proceeding, unless specifically agreed to by Deutsche
       México or ordered by the Court. In addition, any documents provided by
       Deutsche México pursuant to these Requests will be in the language contained in
       the original document. Deutsche México will not be providing or paying for
       translation of the documents. Deutsche México reserves the right to rely on facts,
       documents or other evidence that may develop or subsequently come to its
       attention, to assert additional objections or supplemental responses should it
       discover that there is information or grounds for objections, and to supplement or
       amend these responses at any time.

Notably, the parties agreed that DB Americas would not respond.

       As evidenced by the response, DB México did not waive any rights to proper service

pursuant to the Hague Convention, particularly when DB México produced documents in

response, and propounded its responses and objections to, the Court-ordered Rule 2004 subpoena

in the underlying Chapter 15 Case—not this adversary proceeding. For the foregoing reasons,

Plaintiff cannot evade the requirements of the Hague Convention—which include proper

translation—by pointing to compliance with a prior court order in a separate proceeding.




                                               10
19-01294-scc    Doc 50     Filed 10/24/19 Entered 10/24/19 15:22:09          Main Document
                                       Pg 11 of 12



                                       CONCLUSION

      For all of these reasons, the Court should deny Plaintiff’s Motion.



Dated: October 24, 2019                            Respectfully submitted,

                                                   /s/ Israel Dahan
                                                   Israel Dahan
                                                   KING & SPALDING LLP
                                                   1185 Avenue of the Americas
                                                   New York, NY 10036-2601
                                                   Tel: (212) 556.2100
                                                   Fax: (212) 556.2200
                                                   idahan@kslaw.com


                                                   Counsel for DB México




                                              11
19-01294-scc      Doc 50    Filed 10/24/19 Entered 10/24/19 15:22:09           Main Document
                                        Pg 12 of 12



                               CERTIFICATE OF SERVICE

       I hereby certify that, on October 24, 2019, I electronically filed the foregoing document

with the Clerk of Court using the CM/ECF system, which will send a notice of electronic filing

to all counsel of record who have consented to electronic notification. I further certify that I

mailed the foregoing document and the notice of electronic filing by first-class mail to all non-

CM/ECF participants.

                                            /s/Israel Dahan
                                            Israel Dahan




                                               12
